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 4
     Attorney for Defendant,
 5   DERRICK JOHNSON
 6
                               IN THE UNITED STATES DISTRICT COURT
 7
                            FOR THE EASTERN DISTRICT OF CALIFORNIA
 8
 9
     UNITED STATES OF AMERICA,           )                  No. CR S 08 0427 MCE
10                                       )
                 Plaintiff,              )                  WAIVER OF PERSONAL
11                                       )                  APPEARANCE
           v.                            )
12                                       )
     DERRICK JOHNSON, et al.,            )
13                                       )
                 Defendants.             )
14   ____________________________________)
15          The undersigned defendant, DERRICK JOHNSON, hereby waives the right to be present
16   in person in open court upon the hearing of any motion or other proceeding in this cause,
17   including when the case is ordered set for trial, when a continuance is ordered, and when any
18   other action is taken by the court before trial except upon impanelment of jury and trial itself.
19          The undersigned defendant hereby requests the court to proceed during every absence of
20   his which the court may permit pursuant to this waiver, and hereby agrees that his interests will
21   be deemed represented at all times by the presence of his attorney the same as if the defendant
22   himself were personally present in court, and further agrees to be present in person in court when
23   the jury is impaneled and the trial is under way, or at any time it is ordered by the court..
24          The defendant further acknowledges that he has been informed of his rights under Title
25   18 U.S.C. §§ 3161-3174 (The Speedy Trial Act) and authorizes his attorney to set times and
26   delays under that Act without his personal presence.
27
28
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 1   DATED: October 16, 2008                       /s/ Derrick Johnson1, Defendant
 2
           I concur in Mr. Johnson’s decision to waive his presence at future proceedings.
 3
 4   DATED: October 16, 2008                       /s/ Tim Warriner, Attorney for Defendant,
                                                   DERRICK JOHNSON
 5
 6
           IT IS SO ORDERED.
 7
 8    Dated: November 4, 2008

 9                                                 ________________________________
                                                   MORRISON C. ENGLAND, JR.
10                                                 UNITED STATES DISTRICT JUDGE
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               Pursuant to local EFC procedure, attorney will maintain an originally executed copy.
